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               EXHIBIT 20
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  AO 245B (Rev. AO 09/19-CAN 12/19) Judgment in Criminal Case


                                     UNITED STATES DISTRICT COURT
                                              Northern District of California
             UNITED STATES OF AMERICA                                  ) JUDGMENT IN A CRIMINAL CASE
                           v.                                          )
                   Elizabeth Holmes                                    )    USDC Case Number: CR-18-00258-001 EJD
                                                                       )    BOP Case Number: DCAN518CR00258-001
                                                                       )    USM Number: 24965-111
                                                                       )    Defendant’s Attorney: Kevin M. Downey (Retained)
                                                                                                    Katherine A. Trefz (Retained)
                                                                                                    Lance A. Wade (Retained)
                                                                                                    Amy M. Saharia (Retained)
                                                                                                    Jean R. Fleurmont (Retained)
                                                                                                    Richard S. Cleary Jr. (Retained)
                                                                                                    John D. Cline (Retained)


  THE DEFENDANT:
   r   pleaded guilty to count(s):
   r   pleaded nolo contendere to count(s): which was accepted by the court.
   17 was found guilty on counts: One and Six through Eight of the Third Superseding Indictment after a plea of not guilty.
  The defendant is adjudicated guilty of these offenses:
   Title & Section                Nature of Offense                                                Offense Ended          Count
   18 U.S.C. § 1349               Conspiracy to Commit Wire Fraud Against Theranos Investors               2015               1
   18 U.S.C. § 1343               Wire Fraud                                                            02/06/2014            6
   18 U.S.C. § 1343               Wire Fraud                                                            10/31/2014            7
   18 U.S.C. § 1343               Wire Fraud                                                            10/31/2014            8
  The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
  Reform Act of 1984.

   17    The defendant has been found not guilty on counts: Two and Ten through Twelve of the Third Superseding Indictment.
   17    Counts Three through Five and Nine are dismissed on the motion of the United States.

       It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           11/18/2022
                                                                           Date of Imposition of Judgment


                                                                           Signature of Judge
                                                                           The Honorable Edward J. Davila
                                                                           United States District Judge
                                                                           Name & Title of Judge

                                                                           January 11, 2023
                                                                           Date
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                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
        135 months. This term consists of terms of 135 months on each of Counts 1 and 6 through 8, all counts to be served
        concurrently.

The appearance bond is hereby exonerated, or upon surrender of the defendant as noted below. Any cash bail plus interest shall be
returned to the owner(s) listed on the Affidavit of Owner of Cash Security form on file in the Clerk's Office.

       The Court makes the following recommendations to the Bureau of Prisons:
       The defendant be designated to the Federal Prison Camp at Bryan, Texas. The Court finds that family visitation enhances
       rehabilitation.
       The defendant is remanded to the custody of the United States Marshal.
 □
       The defendant shall surrender to the United States Marshal for this district:
 □
               at on (no later than 2:00 pm).
       □
               as notified by the United States Marshal.
        □
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               on 4/27/2023 (no later than 2:00 pm).

               as notified by the United States Marshal.
       □
               as notified by the Probation or Pretrial Services Office.
       □


                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on ______________________________ to _______________________________________ at
         ________________________________________ , with a certified copy of this judgment.




                                                                                       UNITED STATES MARSHAL

                                                                 By
                                                                                 DEPUTY UNITED STATES MARSHAL
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years. This term consists of terms of
three years on each of Counts 1 and 6 through 8, all such terms to run concurrently.

                                     MANDATORY CONDITIONS OF SUPERVISION

 1)     You must not commit another federal, state or local crime.
 2)     You must not unlawfully possess a controlled substance.
 3)     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
        from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                     The above drug testing condition is suspended, based on the court's determination that you pose a low risk of




              Ill
                     future substance abuse. (check if applicable)




      □
 4)          You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
             of restitution. (check if applicable)
 5)          You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)




      Ill □
 6)          You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
             seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
             you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)




      □
 7)          You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court, and bring about improvements in your conduct and condition.

1)       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
         RELEASE, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2)       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
         and when you must report to the probation officer, and you must report to the probation officer as instructed.
3)       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the court or the probation officer.
4)       You must follow the instructions of the probation officer related to the conditions of supervision.
5)       You must answer truthfully the questions asked by your probation officer.
6)       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
         living arrangements (such as the people you live with, for example), you must notify the probation officer at least 10 days
         before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must
         notify the probation officer within 72 hours of becoming aware of a change or expected change.
7)       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by these and the special conditions of your supervision that he or she observes in plain
         view.
8)       You must work at least part-time (defined as 20 hours per week) at a lawful type of employment unless excused from doing
         so by the probation officer for schooling, training, community service or other acceptable activities. If you plan to change
         where you work or anything about your work (such as your position or your job responsibilities), you must notify the
         probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not
         possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a
         change or expected change.
9)       You must not communicate or interact with someone you know is engaged in criminal activity. You must not associate,
         communicate, or interact with any person you know has been convicted of a felony, unless granted permission to do so by the
         probation officer.
10)      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
11)      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the court.
12)      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
         nunchakus or tasers).


         If the probation officer determines that you pose a risk to a third party, the probation officer may require you to notify the
□
         person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
         that you have notified the person about the risk. (check if applicable)

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. I understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions of supervision upon a finding of a violation of probation or supervised release.



 (Signed)
              Defendant                                                         Date


              U.S. Probation Officer/Designated Witness                         Date
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                                         SPECIAL CONDITIONS OF SUPERVISION

 1.        You must have no contact with the investor victims, unless otherwise directed by the probation officer.

 2.        You must pay any restitution and special assessment that is imposed by this judgment and that remains
           unpaid at the commencement of the term of supervised release.

 3.        You must provide the probation officer with access to any financial information, including tax returns,
           and must authorize the probation officer to conduct credit checks and obtain copies of income tax
           returns.

 4.        You must not open any new lines of credit and/or incur new debt without the prior permission of the
           probation officer.

 5.        You must not maintain a position of fiduciary capacity without the prior permission of the probation
           officer.

 6.        You must participate in a mental health treatment program, as directed by the probation officer. You
           are to pay part or all cost of this treatment, at an amount not to exceed the cost of treatment, as deemed
           appropriate by the probation officer. Payments must never exceed the total cost of mental health
           counseling. The actual co-payment schedule must be determined by the probation officer.

 7.        You must cooperate in the collection of DNA as directed by the probation officer.

 8.        You must submit your person, residence, office, vehicle, or any property under your control, including
           any computers, cell phones, and other electronic devices, to a search. Such a search must be conducted
           by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon
           reasonable suspicion of contraband or evidence of a violation of a condition of release. Failure to submit
           to such a search may be grounds for revocation. You must warn any residents that the premises may be
           subject to searches.
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                                                  CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments.

                                    Assessment                       Fine                    Restitution                 AVAA                     JVTA
                                                                                                                       Assessment*             Assessment**
   TOTALS                             $ 400.00                      Waived               To Be Determined                  N/A                      N/A

        The determination of restitution is deferred until a date to be determined. An Amended Judgment in a Criminal Case (AO
        245C) will be entered after such determination.
        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 □

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
           otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all
           nonfederal victims must be paid before the United States is paid.
 Name of Payee                                        Total Loss                       Restitution Ordered                     Priority or Percentage




 TOTALS                                                  $ 0.00                                   $ 0.00


        Restitution amount ordered pursuant to plea agreement $
 □
        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
 □      before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
        may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
 □
                 the interest requirement is waived for the.
         □
                 the interest requirement is waived for the is modified as follows:
         □




* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
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                                                             SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

    A           Lump sum payment of _____________________ due immediately, balance due
         □
                        not later than , or
                □
                        in accordance with
                □                                      □ C,       □ D, or □ E, and/or                 □ F below); or
    B           Payment to begin immediately (may be combined with
         □                                                                               □ C,       □ D, or □ F below); or
    C           Payment in equal (e.g., weekly, monthly, quarterly) installments of _ over a period of (e.g., months or years), to
         □      commence (e.g., 30 or 60 days) after the date of this judgment; or

    D           Payment in equal (e.g., weekly, monthly, quarterly) installments of _ over a period of (e.g., months or years), to
         □      commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

    E           Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
         □      imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

    F           Special instructions regarding the payment of criminal monetary penalties:
                It is further ordered that the defendant shall pay to the United States a special assessment of $400. Payments shall
                be made to the Clerk of U.S. District Court, 450 Golden Gate Ave., Box 36060, San Francisco, CA 94102. During
                imprisonment, payment of criminal monetary penalties are due at the rate of not less than $25 per quarter and
                payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

□ Joint and Several
    Case Number                                                 Total Amount              Joint and Several                     Corresponding Payee,
    Defendant and Co-Defendant Names                                                          Amount                               if appropriate
    (including defendant number)




         The defendant shall pay the cost of prosecution.
    □
         The defendant shall pay the following court cost(s):
    □
         The defendant shall forfeit the defendant’s interest in the following property to the United States:
    □
         The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all
    □    or part of the restitution ordered herein and may order such payment in the future, but such future orders do not affect the
         defendant’s responsibility for the full amount of the restitution ordered.





 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
